          Case 5:23-cv-00495-G Document 6 Filed 09/05/23 Page 1 of 10




                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF OKLAHOMA

JANE DOE, an individual; and                  )
JANE ROE, an individual                       )
                                              )
                Plaintiffs,                   )
                                              )
v.                                            )     Case No. CIV-23-495-G
                                              )
STATE OF OKLAHOMA ex rel.                     )
BOARD OF REGENTS OF THE                       )
UNIVERSITY OF OKLAHOMA,                       )
a state agency; and                           )
JOHN DOE, an individual,                      )
                                              )
                Defendants.                   )

               PLAINTIFFS’ MOTION FOR LEAVE TO PROCEED
             USING PSEUDONYMS AND FOR PROTECTIVE ORDER

       COMES NOW, Jane Doe and Jane Roe, Plaintiffs in the above-styled action, in

accordance with Federal Rule of Civil Procedure 5.2, and in conjunction with the filing of

the First Amended Complaint, hereby file this Motion for Leave to Proceed Using

Pseudonyms and for Protective Order (the “Motion”). In doing so, Plaintiff Jane Doe

acknowledges that her initial Motion for Leave to Proceed Using Pseudonyms and For

Protective Order [Dkt. No. 4] is mooted by the filing of the First Amended Complaint. In

further support of this Motion, Plaintiffs hereby state and assert as follows:

                                    INTRODUCTION

       Plaintiff Jane Doe brought the above-styled action against her former employer and

alma mater, the State of Oklahoma ex rel. Board of Regents of the University of Oklahoma

(the “University”) and John Doe, her former supervisor, to seek redress in connection with
          Case 5:23-cv-00495-G Document 6 Filed 09/05/23 Page 2 of 10




(a) injuries suffered as a result of John Doe’s egregious harassment and discrimination; and

(b) the University’s longstanding policy, practice, custom, and culture of ignoring or

otherwise remaining indifferent to reports of sexual harassment and misconduct and sex

and/or gender discrimination on campus. More specifically, Jane Doe, a former Academic

Advisor in a particular Department at the University, seeks recovery for her injuries via

(i) Title IX of the Education Amendments of 1972, 20 U.S.C. § 1681 et seq., alleging (in

part) that the University maintained a policy, custom, and culture of intentional ignorance

and indifference to sexual misconduct on campus and reports thereof, including to

misconduct undertaken by Defendant John Doe; (ii) Title VII of the Civil Rights Act of

1964, 42 U.S.C § 2000e et seq., alleging the University engaged in an unlawful

employment practice by discriminating against Plaintiff “because of” sex and otherwise

creating a sexually hostile work environment; and (iii) 42 U.S.C. § 1983, alleging

intentional violations by the University and John Doe, respectively, of Plaintiff’s rights to

due process and equal protection under the law.

       In filing the First Amended Complaint, Jane Doe (1) added a claim for violations of

Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e et seq., pursuant to a Right to

Sue Letter received from the Equal Employment Opportunity Commission (“EEOC”) on

or about July 18, 2023; and (2) joined an additional party, Jane Roe, another victim of John

Doe’s pattern and practice of harassment and discrimination. Jane Roe, also a former

Academic Advisor in the same Department as Jane Doe (her predecessor), seeks redress in

connection with (a) injuries suffered as a result of John Doe’s egregious harassment and

discrimination; and (b) the University’s longstanding policy, practice, custom, and culture

                                             2
          Case 5:23-cv-00495-G Document 6 Filed 09/05/23 Page 3 of 10




of deliberately ignoring or snubbing reports of sexual harassment and misconduct and sex

and/or gender discrimination on campus. Jane Roe, like her co-Plaintiff, seeks recovery

for her injuries via Title IX of the Education Amendments of 1972, 20 U.S.C. § 1681 et

seq.; Title VII of the Civil Rights Act of 1964, 42 U.S.C § 2000e et seq.; and 42 U.S.C. §

1983; Jane Roe also raises a claim for negligence, properly noticed under the Oklahoma

Governmental Tort Claims Act, 51 O.S. § 151 et seq., relating to the University’s failure

to protect her from a known or readily knowable risk of harassment. Like Jane Doe’s

claims, all of Jane Roe’s claims, as pleaded, are limited to encompass only facts,

circumstances, and events occurring before June 13, 2022—the date on which Jane Doe

initiated the now-ongoing Title IX proceedings against Defendant John Doe.

       Given the nature of this case as one involving an egregious pattern of sexual

misconduct and harassment perpetrated against multiple women, which includes specific

factual allegations of sexual assault and battery raised by Jane Doe against John Doe, the

First Amended Complaint incorporates and states deeply personal, intimate, and

embarrassing details of certain acts which implicate the privacy interests of both Plaintiffs

and Defendant John Doe, the accused discriminator.            Further, these allegations are

currently being developed and scrutinized in the context of a yet-to-be-resolved,

confidential Title IX proceeding, involving all Parties to this suit. Accordingly, Plaintiffs

filed this Motion as a means of protecting and preserving the identities of the individuals

involved in this proceeding (and an ongoing Title IX Investigation) and otherwise

highlighting to this Court the risk of harm associated with publicizing the Parties’ names.

Plaintiffs, as such, respectfully request that this Court grant them leave to, at least for the

                                              3
          Case 5:23-cv-00495-G Document 6 Filed 09/05/23 Page 4 of 10




time being: (1) identify themselves, in the Case Style and throughout these proceedings, in

unsealed filings, etc., as “Jane Doe” and “Jane Roe,” respectively; and (2) similarly identify

the individual accused of harassment and discrimination as “John Doe.”

                           ARGUMENTS & AUTHORITIES

PLAINTIFFS’ PRIVACY INTERESTS IN PROCEEDING PSEUDONYMOUSLY GREATLY
OUTWEIGH THE GENERAL PRESUMPTION OF OPENNESS IN JUDICIAL PROCEEDINGS.

       Rule 10(a) of the Federal Rules of Civil Procedure provides that “[e]very pleading

shall contain a caption setting forth the name of the court, the title of the action, the file

number, and a designation as in Rule 7(a).” The Federal Rules, further, generally “make

no provision for suits by persons using fictitious names or for anonymous plaintiffs.” Nat’l

Commodity and Barter Ass’n, Nat’l Commodity Exchange v. Gibbs, 886 F.2d 1240, 1245

(10th Cir. 1989). As such, Courts have recognized that: “[p]ublic access to this information

is more than a customary procedural formality[,]” and that “First Amendment guarantees

are implicated when a court decides to restrict public scrutiny of judicial proceedings” (e.g.,

by permitting pseudonymous filings). Doe v. Stegall, 653 F.2d 180, 185 (5th Cir. 1981).

“Nonetheless, the rule [that every pleading name the parties] is not absolute.” Plaintiff

B v. Francis, 631 F.3d 1310, 1315 (11th Cir. 2011) (emphasis added). This Court,

accordingly, has discretion to grant the instant Motion. See Doe v. Weber State Univ., Case

No. 1:20-CV-00054-TC-DAO, 2021 WL 5042849, at *3 (D. Utah, N. Div. Oct. 29, 2021).

       Before permitting a pseudonymous filing, this Court must determine whether factors

warranting maintenance of a party’s privacy interests (via the use of a pseudonym)

outweigh the customary presumption of openness in judicial proceedings. See Doe v.


                                              4
           Case 5:23-cv-00495-G Document 6 Filed 09/05/23 Page 5 of 10




Stegall, 653 F.2d 180, 186 (5th Cir. Unit A 1981). Critically, there is no “hard and fast

formula” for making this determination or for otherwise ascertaining whether a party may

sue anonymously. Id. at 185. There are, however, three considerations which may weigh

on such determination: (1) whether the party seeking anonymity is suing to challenge

governmental activity; (2) whether prosecution of the suit compels a party to disclose

information of the utmost intimacy; and (3) whether a party may be compelled to admit an

intention to engage in illegal conduct, thereby risking criminal prosecution. Id. at 185.

(citing Southern Methodist Univ. Ass'n of Women Law Students v. Wynne & Jaffe, 599 F.2d

707 (5th Cir. 1979)). Importantly, these facts are not to be applied and considered in the

form of “a rigid, three-step test.” Rather, it is this Court’s task to “carefully review all the

circumstances of [this] [] case and then decide whether the customary practice of disclosing

the [Parties’] identit[ies] should yield to the plaintiff's privacy concerns.” Doe v. Frank,

951 F.2d 320, 323 (11th Cir. 1992); see also Plaintiff B, 631 F.3d at 1316 (“After the

Stegall court clarified that the [three Southern Methodist University factors were] only the

first step for evaluating whether to let a plaintiff proceed to trial anonymously, courts have

considered other contexts in analyzing all the circumstances of a given case.”). Ultimately,

the proper test for permitting a party (or multiple parties) to proceed pseudonymously is

whether such party retains a substantial privacy right outweighing the “customary and

constitutionally embedded presumption of openness in judicial proceedings.” Stegall, 653

F.2d at 186. Here the Parties each retain such a privacy right outweighing the “presumption

of openness” in judicial proceedings.



                                               5
           Case 5:23-cv-00495-G Document 6 Filed 09/05/23 Page 6 of 10




       Here, the first and third Southern Methodist University factors are not necessarily

helpful. But the second Southern Methodist University factor—i.e., whether prosecution

of the case may compel a party to disclose information of the “utmost intimacy”—weighs

mightily in favor of Plaintiffs and Defendant John Does’ respective privacy concerns and

otherwise supports the granting of this Motion.         When considered in light of the

circumstances of this particular case, moreover, it is clear that the customary practice of

openness must give way to anonymity; the privacy interests of Jane Doe and John Doe,

respectively, and their respective risks of reputational and mental and emotional harm from

public exposure outweigh any interest the public may otherwise have in knowing their

particular identities at this time. 1

       “[I]nformation of the utmost intimacy” references or generally includes reference to

deeply personal, intimate matters such as birth control, abortion, homosexuality,

transsexuality, mental illness, and personal religious beliefs. Doe v. Compact Information

Sys., 2015 WL 11022761 *4 (N.D. Tex. Jan. 26, 2015); see, e.g., Southern Methodist

University, 599 F.2d at 712, 713 (finding that “matters of a sensitive and highly personal

nature” include “birth control, abortion, homosexuality or the welfare rights of illegitimate

children or abandoned families”). Logically, such definition should extend to other

similarly intimate matters with respect to which the public gains no benefit from knowing


1
  John Doe still works for the University and his continued work there, upon information
and belief, depends (in whole or in part) on the resolution of the relevant Title IX
proceeding and other claims involving the Parties herein. The public disclosure of John
Doe’s name—while he still works at the University and while the Title IX proceeding
specifically undertaken by the University is ongoing—may therefore pose a unique risk of
reputational, professional, and economic harm to Defendant John Doe.
                                             6
           Case 5:23-cv-00495-G Document 6 Filed 09/05/23 Page 7 of 10




the details—namely, traumatic experiences involving sexual harassment, abuse, or assault.

To this point, courts have recognized that “cases involving sexual assault on colleges and

universities have [frequently] garnered significant media attention, posing the risk of

further reputational harm” to both the accuser and the accused. Doe v. Louisiana State

University, No. 20-379-BAJSDJ, 2020 WL 6493768 (M.D. La. June 30, 2020). And to

mitigate this risk, Courts “repeatedly” have allowed the individual parties involved in on-

campus sexual assault allegations to be identified via pseudonyms. Id. (citations omitted);

see also Doe v. University of Mississippi, No. 3:21-cv-201 DPJ-FKB, 2021 WL 6752261

(S.D. Miss. April 14, 2021). Similar action is necessary in the instant case to protect the

individual Parties from unnecessary and avoidable harm, as well as maintain the integrity

of an ongoing Title IX Investigation involving all Parties hereto.

       Here, the First Amended Complaint includes factual allegations of sexual

harassment, misconduct, and even sexual assault levied against Defendant John Doe (and

as known to the University). Perhaps most pertinently here, these allegations specifically

include:

   •       a detailed, personal, and potentially embarrassing description of a sexual assault
           and battery perpetrated by John Doe against Jane Doe, including facts about John
           Doe’s specific conduct and fondling of Jane Doe; and

   •       embarrassing and intimate details concerning sexual harassment and sex and/or
           gender discrimination, including details concerning inappropriate conversations
           undertaken by John Doe, unwelcome advances made by John Doe, and John
           Doe’s coercive means of responding to Plaintiffs’ separate rejections.

These allegations, further, do not represent the full extent of personal and intimate details

which may be released during the course of these proceedings. Quite the contrary,


                                              7
           Case 5:23-cv-00495-G Document 6 Filed 09/05/23 Page 8 of 10




Plaintiffs anticipate that the further prosecution of their claims against the University will

undoubtedly require the further exposure of sensitive, highly personal details pertaining to

(a) their sufferance from sex and/or gender discrimination while at the University; (b) the

nature and extent of John Doe’s conduct; and (c) the significant impact of such conduct on

Plaintiffs’ lives. Plaintiffs thus retain an increasingly strong privacy interest in maintaining

the confidentiality of the uniquely private details and circumstances surrounding their

harassment—and for Jane Doe, eventual assault by—John Doe.

       Further supporting the granting of this Motion, in a separate case involving Jane

Doe and John Doe premised on many of the same allegations raised herein, see Jane Doe

v. John Doe, District Court of Cleveland County, State of Oklahoma, Case No. CJ-2022-

636, at https://www.oscn.net/dockets/GetCaseInformation.aspx?db=cleveland&number=

CJ-2022-636&cmid=2408052 (last visited Sep. 5, 2023), the Court permitted the Parties to

proceed using pseudonyms, recognizing the use of fictitious party designations as

“necessary in the interests of justice.” In reaching this determination, the District Court

accepted that the Parties’ interests in privacy outweighed any public interest in the

disclosure of the Parties’ names, recognizing (1) the sensitive, potentially embarrassing

and damaging character of the allegations in the Petition; (2) legitimate fears held by Jane

Doe and John Doe—and, relevant here, shared by Jane Roe—that the public disclosure of

the Parties’ names will lead to reputational harm arising from Jane Doe’s placement in a

professional community within which John Doe wields significant professional influence;

(3) the real risk of embarrassment or public exposure to other victims or potential victims

of John Doe who have not sought to come forward publicly; (4) legitimate fears of

                                               8
          Case 5:23-cv-00495-G Document 6 Filed 09/05/23 Page 9 of 10




retaliation held by Jane Doe and others relating to their coming forward with allegations

against John Doe; and (5) Jane Doe’s cooperation with ongoing investigations into John

Doe’s alleged conduct, including an ongoing Title IX investigation, which is intended to

remain confidential and preserve the rights of the participating Parties—at least until such

investigation and proceeding has concluded.

       Lastly and perhaps most importantly, the University will suffer zero prejudice in

this case in the event Plaintiffs and Defendant John Doe are permitted to proceed using

pseudonyms. As the First Amended Complaint implicitly indicates via its identification of

separate, ongoing Title VII and Title IX proceedings involving all Parties hereto, the

University already knows the identities of both Plaintiff and John Doe. Accordingly, the

University will have “an uninhibited opportunity to litigate this matter regardless of

whether Plaintiff[s’] identit[ies] [are] disclosed publicly.” See Doe v. Colgate Univ., No.

15-1069, 2016 WL 1448829 at *3 (S.D. N.Y. Apr. 12, 2016). Similarly, the University

will have a full opportunity to litigate this matter vis-à-vis John Doe without his identity

being released herein. If anything, the nondisclosure of the individual Parties’ respective

names at this juncture will at least preserve the ongoing integrity and confidentiality of the

Parties’ Title IX proceeding (run by the University), which has been going on for over a

year at this point. For these reasons, the individual Parties should be permitted to proceed

using pseudonyms.

                                      CONCLUSION

       For these reasons, Plaintiffs respectfully request the Court GRANT this Motion and

their corresponding requests to, at least for the time being: (1) identify themselves, in the

                                              9
         Case 5:23-cv-00495-G Document 6 Filed 09/05/23 Page 10 of 10




Case Style and throughout these proceedings, in unsealed filings, etc., as “Jane Doe” and

“Jane Roe,” and (2) identify the individual accused of harassing them as “John Doe” and

enter a Protective Order requiring the same. If this Court should deny this Motion,

Plaintiffs humbly request leave to amend the pseudonymous First Amended Complaint, as

filed on September 5, 2023.

                                          Respectfully Submitted,

                                          s/ Wyatt McGuire
                                          J. Blake Johnson, OBA No. 32433
                                          Ryan Kiesel, OBA No. 21254
                                          Wyatt McGuire, OBA No. 34720
                                          OVERMAN LEGAL GROUP, PLLC
                                          809 NW 36th Street
                                          Oklahoma City, Oklahoma 73118
                                          Telephone: (405) 605-6718
                                          Facsimile: (405) 605-6719
                                          Email:        blakejohnson@overmanlegal.com
                                                        ryan@rkoklaw.com
                                                        wyattmcguire@overmanlegal.com
                                          ATTORNEYS FOR PLAINTIFF

                              CERTIFICATE OF SERVICE

       I hereby certify that on September 5, 2023, I electronically transmitted the attached

document to the Clerk of Court using the Electronic Case Filing System for filing. Based

on the records currently on file in this case, the Clerk of Court will transmit a Notice of

Electronic Filing to those registered participants of the ECF System.


                                          s/ Wyatt McGuire
                                          For the Firm




                                            10
